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 9                                UNITED STATES DISTRICT COURT

10                               NORTHERN DISTRICT OF CALIFORNIA

11                                   SAN FRANCISCO DIVISION

12   IN RE OPTICAL DISK DRIVE PRODUCTS              No. 3:10-md-2143 RS (JCS)
     ANTITRUST LITIGATION
13                                                    ORDER APPROVING INDIRECT
                                                      PURCHASER PLAINTIFFS’ REVISED
14                                                    PLAN OF DISTRIBUTION AND
                                                      SCHEDULE
15

16
     This Document Relates to:
17
     ALL INDIRECT PURCHASER ACTIONS
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 1            This matter comes before the Court on Indirect Purchaser Plaintiffs’ Revised Proposed Plan

 2   of Distribution and Schedule (“Distribution Plan”).

 3            Upon consideration of the Distribution Plan and good cause having been shown, the

 4   following plan and distribution schedule is GRANTED:

 5                               EVENT                                      DATE FOR COMPLETION
 6    Warm Up                                                                May 6 to June 4, 2022
 7    DigitalPay emails claimants an initial notice (a
      “warm up”) that communicates payment is soon
 8    coming and provides a date range of when payee will
 9    see payment. This email sets expectations and
      reinforces credibility of the payment to be received.
10                                                                                 June 6-17, 2022
      Phase I: Payment Notification and Receipt
11
      DigitalPay issues payments (“payment notification”)
12    to claimants via email. From this communication,
      claimants will be able to select where they would like
13
      to receive funds. This action transfers funds from the
14    settlement fund to the possession of the payee.

15    Paper Checks Issued

16    Claims administrator Epiq to mail paper checks
      week of April 25, with 60-day expiration.
17
      Payment Expiration                                                            July 22, 2022
18
      All digital payments issued in Phase I will expire
19    (each digital payment will expire 35 days from the
      rolling notification; the vast majority of payments
20
      taken will occur in a ~72-hour window from
21    notification). While a payment is active—but has not
      yet been taken—payees will receive four emails to
22    remind them they have funds waiting.

23    Process Payment Exceptions                                               August 1-7, 2022

24    Reissue digital payments as necessary and allow a
      further one week for expiration.
25
      Report Results of Phase I                                                September 2, 2022
26
      DigitalPay and Epiq to identify and report funds that
27    have not yet been taken by payees. Final accounting
      report and reconciliation will be created, along with
28
     ORDER APPROVING IPP REVISED PLAN OF
     DISTRIBUTIONAND SCHEDULE - Case No.: 3:10-md-2143 RS   -1-
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 1                               EVENT                                      DATE FOR COMPLETION
 2    proposed Second Round Distribution amounts. A
      report on first round distribution will be filed with
 3    the Court with a proposed plan for Second Round
      Distribution.
 4
      Phase II: Second Round Distribution                                    September 19-30, 2022
 5
      Claims administrator DigitalPay securely delivers a
 6    final pro rata payment to all payees who took a
 7    payment in the Initial Payment Offering (Phase I).
      This card is the named property of the payee and
 8    delivers live funds. No bank account is required to
      activate and use any of the cards delivered. This final
 9    phase delivers funds to all entitled claimants with the
      intent of taking the settlement balance as closed to $0
10
      as possible (except for outstanding physical checks
11    issued by Epiq).

12    Claims administrator Epiq to reissue checks with 30-
      day expiration to those who did not cash 60 days
13    from first issuance.
14                                                                            November 18, 2022
      Final Reporting
15
      Claims administrator DigitalPay to provide final
16    report regarding the disbursement of the settlement
      funds.
17
      Claims administrator Epiq to identify and report
18    checks that have not been cashed 30 days from re-
      issuance.
19
      Any remaining funds will be distributed to the
20
      Attorneys General for the Class jurisdictions for use
21    in prosecuting consumer antitrust claims.

22            IT IS SO ORDERED.

23           April 7, 2022
     DATED: __________________________

24

25
                                                        HONORABLE RICHARD SEEBORG
26                                                      UNITED STATES DISTRICT COURT JUDGE

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     ORDER APPROVING IPP REVISED PLAN OF
     DISTRIBUTIONAND SCHEDULE - Case No.: 3:10-md-2143 RS   -2-
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